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Exhibit 45
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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

---O000---

In re: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY

 

LITIGATION

/
THIS DOCUMENT RELATES TO: MDL Docket
HARDEN MANUFACTURING CORPORATION; No. 1629

LOUISIANA HEALTH SERVICE INDEMNITY

COMPANY, dba BLUECROSS/BLUESHIELD OF Master File
LOUISIANA; INTERNATIONAL UNION OF No. 04-10981
OPERATING ENGINEERS, LOCAL NO. 68

WELFARE FUND; ASEA/AFSCME LOCAL 52

HEALTH BENEFITS TRUST; GERALD SMITH;

and LORRAINE KOPA, on behalf of

themselves and all others similarly

situated, v. PFIZER INC. and

WARNER-LAMBERT COMPANY.

/

 

THE GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER INC,

 

VIDEOTAPED DEPOSITION OF BRIAN K. ALLDREDGE

SATURDAY, JANUARY 31, 2009

Job No.: 187702

Pages 1 - 215

 

 
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Q. Do you also understand that physicians can
prescribe medicines for indications and -- and at
doses that are not FDA approved; correct?

A. It-- yes, Ido.

Q. And that's typically called off label
prescribing; correct?

A. Correct.

Q. Do you have a sense of how frequently off
label prescribing is among physicians?

A. I believe it's pretty common.

Q. What about in the context of epilepsy, is
it common in treating epilepsy?

A. Yes.

Q. How about neuropathic pain, do you know
how common it is in neuropathic pain for physicians
to prescribe off label?

A. No, I don't.

Q. And I assume you would generally agree
that the fact that the FDA has not approved a
medicine for a particular indication or at a
particular dose does not mean that that medication
may not be effective at that indication or dose?

A. Correct.

Q. Have you ever prescribed Gabapentin?

A. Yes.

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prescription for Gabapentin?

A. No.

Q. [assume that you don't think your
prescriptions for Gabapentin at dosage above
1800 milligrams per day are inappropriate?

MR. HIMMELSTEIN: Objection, vague and
ambiguous.

THE WITNESS: Actually, now I do think
they're inappropriate.
BY MS. HARRIS:

Q. So you believe that prescriptions you have
provided in the past for Neurontin at 1800
milligrams -- above 1800 milligram were
inappropriate prescriptions to be written?

A. Yes.

Q. Do you have any patients currently taking
Gabapentin at those levels?

A. Not -- I don't believe so.

Q. Have you written any prescriptions since
June of '08?

A. Yes,

Q. At doses above 1800 milligrams per day?

A. I don't believe so.

Q. Can you describe epilepsy for me
generally?

 

 

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Q. At what doses do you prescribe Gabapentin?

A. A broad range of doses, probably from 900
to 3600 milligrams.

Q. And for what indications do you prescribe
Gabapentin?

A. For epilepsy.

Q. Are there particular, specific indications
for epilepsy that you would use it for?

A. Yes.

Q. What would those be?

A. They would be patients with partial and
secondarily generalized tonoclonic seizures.

Q. Would you use Gabapentin as a mono therapy
or only as an adjunctive therapy?

A. Personally, I only use it as adjunctive
therapy.

Q. How frequently do you prescribe
Gabapentin?

A. Currently? Not frequently, maybe several
times per month.

Q. Of the hundred or so patients that you're
seeing now, do you have a sense of what percentage
are taking Gabapentin?

A. It's likely to be under 20 percent.

Q. Do you recall the last time you wrote a

 

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A. It's a disorder characterized by abnormal
electrical activity in the brain that causes changes
in behavior or in movement or sensation.

Q. Are there different types of epilepsy?

A. Yes.

Q. Can you describe the different types for
me?

A. Yeah, the -- in general, we categorize
seizures as either those events that start in a
localized area of the brain, or those that start
kind of broadly or globally in both hemispheres of
the brain.

The former are called partial seizures or
partial epilepsy; the latter are called generalized
seizures or generalized epilepsy.

Q. What are the causes of epilepsy?

A. There are many -- many causes. It can be
genetic, an inherited condition, it can be perinatal
trauma, perinatal infection of the brain or central
nervous system, stroke, tumor; many causes.

Q. Is it a difficult condition to treat?

A. It can be, yes.

Q. In what circumstances is it a difficult
condition to treat?

A. When patients are given either a first or

 

 

34 (Pages 130 to 133)
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OPWNEP OCW MOIAKHRUBWNE OW

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A. No, I didn't.

Q. So you're not offering an expert opinion
on whether there is any enhanced efficacy at 1800
milligrams or above for conditions other than
epilepsy or neuropathic pain?

A. That's correct.

Q. You mentioned previously that in order for
you to be able to prescribe medicine in California,
at one point there was a list of specific
medications you could prescribe.

A. Mm-hmm.

Q. Did that list have dosages attached to the
specific drugs listed?

A. No, it didn't.

Q. Do you know why there wasn't any
restriction as to dosages?

A. Yeah, J -- I suspect that it's because
there is a range of doses that are effective for any
individual patient.

Q. And there's a belief that you have the
judgment to dose appropriately based on your
clinical experience; correct?

A. Yes.

Q. Would you agree that it may also be
because a clinician requires flexibility in

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document, and by page numbers, I mean the pages in
the upper right-hand corner.

MR. HIMMELSTEIN: You mean lower left?

THE WITNESS: Lower left-hand corner?

BY MS. HARRIS:

Q. Oh, okay, do you know what, I'm looking at
a different printed version than you are. I'll look
at the one that you're looking at.

So just so we're all on the same page for
the record, it's Page 2 in the lower left-hand
corner of the document.

A. Oh, okay, mm-hmm.

Q. There's some bold text on that page that
says Case and Commentary, Part II?

A. Mm-hmm.

Q. And the two sentences above that read:
Examples of some of the more common dosing errors
made with antiseizure medications are given in Table
lL.

And it continues to say: Additional
information on appropriate dosing of antiseizure
drugs in adults is given in Table 2..

Did I read that correctly?

A. Yes.

Q. Let's turn to Table 1, which is, I

 

 

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determining the appropriate dose for an individual
patient?
A. I think a clinician does deserve some
flexibility, yes.
Q. You agree, don't you, that physicians and
clinicians like yourself should titrate
antiepileptic drugs to individual patients based on
their individual response?
A. Yes.
(Whereupon the document was marked,
for identification purposes, as
Alldredge Exhibit Number 8.)
BY MS. HARRIS:
Q. Dr. Alldredge, I'm handing you a document
we marked as Alldredge Exhibit number 8.

A. Okay.
Q. Do you recognize this document?
A. Yes.

Q. Can you identify it for the record?

A. It's a commentary that I wrote for the
AHRQ Web M -- Web M&M site that we were talking
about earlier today.

Q. Can you please turn to Page 2 of the

 

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believe, on Page 5 -- 6 --

A. Yes.

Q. -- of the document. And, again, that
Table 1 is titled How to Avoid Common Errors in
Monitoring and Dosing of Antiseizure Drugs; correct?

A. Correct.

Q. And you drafted this chart?

A. Yes.

Q. Okay. Ifyou turn to Page 7, one of the
common errors you cite is, quote, withholding
further -- dose escalations in patients with a
partial response and good medication tolerability
due to fear of exceeding the usual or maximal dose.

A. Correct.

Q. Did] read that correctly?

A. Yes.

Q. Could you please read the comment that you
wrote next to that?

A. Yes. It says, in adults, maintenance
doses of antiseizure medications can vary fivefold
or more, and doses need to be individualized based
on clinical response. There are no a priori dosing
restrictions for any of the commonly used
antiseizure drugs. Drug doses can continue to be
increased as long as the patient derives incremental

 

 

42 (Pages 162 to 165)
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OPWNPFPOHUDRIUHUTBRWNHNH OW

Oran oP WY

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and 300 milligrams three times on the third day.
Thereafter, therapy should be titrated according to
patient response. Daily doses up to 3600
milligrams, divided three times a day, have been
well tolerated and are sometimes required.

Did I read that correctly?

A. Yes.

Q. You don't say that the therapy should be
titrated according to the package insert; correct?

A. Correct.

Q. Because it's important to look at actual
clinical response when titrating appropriately;
correct?

A. Yes, that's part of the decision, yes.

Q. And in some patients, as we've discussed,
that means titrating Gabapentin to 3600 milligrams
per day; correct?

A. I think that some patients do derive
incremental benefit up to 3600 milligrams per day,
yes.

Q. Okay. You can put that aside.

A. Okay.

Q. How many years have you participated in
drafting that particular chapter of this textbook?

A. How many editions of it?

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A. Yes.

Q. And in the seventh edition you again
authored the chapter on seizure disorders; is that
correct?

A. Yes.

Q. And if you turn to Page 1116, the chart we
previously discussed appears on Page 1116 of the
seventh edition; correct?

A. Yes.

Q. And under Gabapentin, the adult daily dose
is again described as 900 to 3600 milligrams;
correct?

A. Yes.

Q. Ifyou turn to Page 1123 of that chapter
in the bottom right corner, you again note, quote,
Thereafter, therapy should be titrated according to
patient response. Daily doses of 3600 milligrams
and above have been well tolerated, and are
sometimes required, end quote; is that correct?

A. Correct.

Q. You also note right at the bottom of that
paragraph that daily doses above 3600 milligrams
should be divided into four doses to improve
absorption; is that correct?

A. Yes.

 

 

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Q. Yes.

A. I'm not sure, maybe -- I'm actually not
sure. I could look on my C.V.

Q. Do you recall drafting that chapter in the
19 -- looking for a date. Let me put it this way,
in the seventh and eighth editions of that textbook?

A. No, I don't recall.

Q. Why don't I show them to you quickly, just
so we can confirm that.

(Whereupon the documents were
marked, for identification purposes, as
Alldredge Exhibit Numbers 10 and 11.)

BY MS. HARRIS:

Q. Dr. Alldredge, I'm going to hand you two
exhibits we've marked as Alldredge number 10 and
Alldredge number 11 respectively.

A. Okay.

Q. Do you recognize these documents? And
please take your time to review them.

A. Yes, Ido.

Q. Am I correct that Alldredge Exhibit number
10 is the seventh edition of the textbook we were
just reviewing?

 

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Q. Why is that?

A. Gabapentin absorption -- the fraction of a
dose taken orally; that is, absorbed in the body,
declines as the size of the individual dose gets
larger.

Q. Is that's what's called nonlinear
absorption?

A. Yes.

Q. Which means that even though you're taking
twice as much drug, you may not be getting twice as
much effect; is that correct?

A. Yes.

Q. If I could turn your attention to
Alldredge Exhibit number 11, am I correct that that
is the eighth edition of this same textbook?

A. Yes.

Q. Please turn to Page 1632. You again
authored this chapter on -- hold on one second -- on
seizure disorders; correct?

A. Yes, I was a coauthor, yes.

Q.. And if you tum to Page 1632?

A. Mm-hmm.

Q. The table on that page which is titled
dosage forms, normal maintenance dose and
interver -- interval for the newer anticonvulsants

 

 

44 (Pages 170 to 173)
OrIAHDUO BWDP

NNNNNNRPHE HEP He Pew
UF wWONDP OW MID MH HB WHY PO tO

Onan UP WD

NNNNNNKFPRPP PP PEPE
TRWNPOWAIHKHUOBWNHHE OO

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includes Gabapentin; correct?

A. Correct.

Q. And again lists the maintenance dose as
900 to 3600 milligrams a day; correct?

A. Correct.

Q. And in the text above that table, you
again write that therapy should be titrated
according to patient response when referring to
Gabapentin; correct?

A. Correct.

Q. You also note that daily doses of
3600 milligrams and above have been well-tolerated
and are sometimes required; correct?

A. Correct.

Q. And again you note that doses above
3600 milligrams should be divided into four doses;
correct?

A. Correct.

Q. Do you recall being involved in any other
editions of this textbook?

A. No.

Q. The eighth edition is copyrighted in 2006:
correct?

A. Yes.

Q. Do you believe that that's the most recent

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notes, quote, people with hard to control seizures
may need doses of up to 4800 milligrams daily to
achieve control, end quote.

Did you know that the Epilepsy Foundation
includes this kind of information on its website?

A. In general, this kind of information,
yeah. But I didn't know about that specific
sentence.

Q. Before starting your expert work in this
matter, did you look at the materials that the
Epilepsy Foundation publishes about Gabapentin?

A. No.

Q. Do you disagree with that statement?

A. I believe that there may be individuals
who do need doses up to 4800 milligrams per day.

MS. HARRIS: I believe we have to change
the tape. So why don't we take a short break.

THE WITNESS: Okay.

THE VIDEOGRAPHER: This is the end of disk
number two, Volume I, we're off the record at
1:30 p.m.

(Recess taken.)

THE VIDEOGRAPHER: This is the beginning
of disk number three, Volume I, we are back on the
record at 1:49 p.m.

 

 

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version of this textbook?

A. I don't know.

Q. Okay. I believe you've testified that
you're on the professional advisory board for the
Epilepsy Foundation; correct?

A. Yes.

Q. And you're also a member of the executive
committee?

A. Yes.

Q. I'm going to hand you a document we've
marked as Alldredge Exhibit number 12.

(Whereupon the document was marked,
for identification purposes, as
Alldredge Exhibit Number 12.)
BY MS. HARRIS:

Q. Do you recognize this document?

A. No, I don't.

Q. I'll represent to you that it's a
print-out from the Epilepsy Foundation website.
This particular page lists medicine information for
Neurontin; correct?

A. Yes.

 

Q._ Ifyou look in the middle of the text it

 

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You may proceed.
BY MS. HARRIS:

Q. Dr., Alldredge, you previously testified
that you have no expertise in marketing; correct?

A. Correct.

Q. And you don't consider yourself an expert
in marketing?

A. Correct.

Q. And that you also have no expertise in
economics?

A. Correct.

Q. Okay. IfI could ask you to turn to your
report again on Page 2. The last sentence on Page 2
states, quote: The effect was to increase Neurontin
sales, to increase Parke-Davis/Pfizer profits and to
increase the expenditures of payers, including
patients..

Did I read that correctly?

A. Yes.

Q. And then if you turn to Page 55, you
repeat a version of that sentence at the bottom of
Page 55 as follows, quote: The likely effect of the
marketing practices/materials cited above was to
increase Neurontin sales, increase
Parke-Davis/Pfizer profits, and to increase the

 

 

45 (Pages 174 to 177)
